      Case 4:07-cr-00037-BAE-GRS Document 86 Filed 05/09/07 Page 1 of 1
                   IN THE UNITED STATES DISTRICT COURT

                 FOR THE SOUTHERN DISTRICT OF GEORGIA

                               SAVANNAH DIVISION




UNITED STATES OF AMERICA,

                Plaintiff,

V.                                                  CR407-3 7

ISIDRO PULIDA-TEJEDO and
JOSE MARTIN OROZCO-CUELLAR ,

                Defendants .

                                 MINUTE ORDER



      The above cause having come before the Court on the Stn day

of May, 2007, and the following rulings having been made orally,

said rulings are hereby made the judgment of the Court :


      Defendants' motions to suppress are TAKEN UNDER ADVISEMENT .

      Defendant Pulida-Tejedo's motion to sever is GRANTED AS
      UNOPPOSED .

      All other pretrial motions are hereby deemed MOOT .



     SO ORDERED this           day of May, 2007 .




                                     SOUTHERN DISTRICT OF GEORGIA
